
Swing, J.
We are of the opinion that sections 4029-1-2-8, Revised Statutes,construed together,is directory and not mandatory. The language of section 4029-1,as amended April 14, 1900, is certainly mandatory, but the third subdivision of said section remains, and it certainly is directory. To construe this section as mandatory for the sole reason that the word “shall” is used, when the statute makes no provision for the levying of taxes for the payment of this particular obligation, and when the effect might be, as in this case, to take from the funds levied for the common schools of said districts amounts sufficient to very seriously impair their usefulness, would be unwarranted. No conclusion of this kind should be reached except from necessity, for the common schools have their foundation in the constitution, and *384the legislature is commanded to provide for their maintenance; and while high schools under the constitution are to. be encouraged as a means of education, there is no mandatory provision as to their creation. Therefore it would not. be reasonable to conclude that the legislature would pass a mandatory- law, the effect of which would be that funds levied for the common schools should be devoted to high schools to such an extent as to injure the common schools. In order to make an action of this kind mandatory, it seems, to us that the legislature should provide funds by taxation for this particular purpose, and otherwise make plain the' duty to be performed by the officers charged with carrying out the law. These are wholly lacking in this law.
JR. A. L. Blond and Fred. L. Huffman, for the Relator..
Louis Beemelin and H. H. Hosbrook, contra.
We therefore conclude that this law, being directory only, the writ should not issue in this case, and the petition will* be dismissed.
